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 5     Los Angeles, California 90071
       Telephone: (213) 330-4500
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 7     Attorneys for Defendant
       CRST EXPEDITED, INC.
 8
                             UNITED STATES DISTRICT COURT
 9
                CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
10

11
       JANE DOE, an individual,                   CASE NO.:
12
                           Plaintiff,             [Removed from Riverside Superior Court;
13                                                Case No.: CVRI2102214]
               v.
14                                                DECLARATION OF KRISTEN
       CRST EXPEDITED, INC., an entity            NESBIT IN SUPPORT OF
15     of unknown form; ARTHUR                    DEFENDANT CRST EXPEDITED,
       MARTYN, an individual; and                 INC.’S NOTICE OF REMOVAL OF
16     DOES 1 through 20,                         ACTION PURSUANT TO 28 U.S.C.
                                                  §§ 1332(a), 1441, AND 1446
17                          Defendants.
18                                                Complaint Filed: May 14, 2021
                                                  Removal Date:    July 1, 2021
19                                                Trial Date:      None Set
20

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           DECLARATION OF KRISTEN NESBIT IN SUPPORT OF DEFENDANT CRST EXPEDITED, INC.’S
            NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332(A), 1441(B), AND 1446
       FP 40900023.2
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 1                            DECLARATION OF KRISTEN NESBIT
 2              I, Kristen Nesbit, hereby declare and state as follows:
 3              1.     I am a Partner with the law firm of Fisher & Phillips LLP, counsel of
 4     record for Defendant CRST Expedited, Inc. (“CRST” or “Defendant”) in the
 5     above-captioned action. I make this declaration in support of Defendant’s Notice
 6     of Removal.
 7              2.     I am a member in good standing of the State Bar of California and
 8     have been admitted to practice before the United States District Court for the
 9     Central District of California. I have personal knowledge of the facts set forth in
10     this Declaration and, if called to testify as witness, could and would testify
11     competently to such facts under oath.
12              3.     Attached hereto as Exhibit A is a true and correct copy of Plaintiff
13     Jane Doe’s Summons, Complaint, and all other matters (“State Lawsuit”) with
14     which Plaintiff served Defendant through its registered agent on June 3, 2021.
15              4.     Attached hereto as Exhibit B is a true and correct copy of Defendant’s
16     Answer to the complaint that was filed with the Clerk of the Court in the Superior
17     Court for the State of California, County of Riverside, on June 30, 2021, and served
18     on Plaintiff.
19              5.     Upon information and belief, Plaintiff has not served Arthur Martyn
20     with the State Lawsuit.
21              6.     On July 1, 2021, Defendant filed a Notice to Plaintiff and State Court
22     of Filing of Notice of Removal with the Clerk of the Court in the Superior Court
23     for the State of California, County of Riverside, and served on Plaintiff.
24              I declare under the laws of the United States of America that the foregoing
25     is true and correct.
26     ///
27     ///
28     ///
                                                   1
             DECLARATION OF KRISTEN NESBIT IN SUPPORT OF DEFENDANT CRST EXPEDITED, INC.’S
               NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332(A), 1441, AND 1446
       FP 40900023.2
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 1             Executed this 1st day of July 2021, at Los Angeles, California.
 2

 3                                             _________________________________
 4                                             KRISTEN NESBIT
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                                                 2
           DECLARATION OF KRISTEN NESBIT IN SUPPORT OF DEFENDANT CRST EXPEDITED, INC.’S
             NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332(A), 1441, AND 1446
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     EXHIBIT A
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                                                                                  0            REC' D MAY 14 2021



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                                                                                                                               B
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 4
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                                                                                                    SIRACUSA
                                                                                                                 t




 5   Attorneys for Plaintiff,
     JANE DOE                                                                                                                    74(
 6


 7


 8
                                SUPERIOR      COURT OF THE STATE OF CALIFORNIA
 9
                                            FOR THE COUNTY OF RIVERSIDE
10


11                                                                             CV R '      21 02214                          1
     JANE DOE, an individual,                                       CASE NO.
12
                            Plaintiff,
                                                                    PLAINTIFF' S COMPLAINT FOR
13
                                                                    DAMAGES FOR:
     vs.
14

                                                                       1)   SEXUAL ASSAULT, BATTERY
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                                                                            AND RATIFICATION:
     CRST EXPEDITED, INC., an entity of unknown                        2)   HARASSMENT         IN VIOLATION
16
     form; ARTHUR MARTYN,              an   individual; and
                                                                            OF THE FEHA;
     DOES 1 through 20,
17                                                                     3)   FAILURE   TO INVESTIGATE

                                Defendants.                         i       AND PREVENT HARASSMENT
                                                                            IN VIOLATION OF THE FEHA;

19
                                                                       4)   NEGLIGENT     HIRING,
                                                                            RETENTION AND/ OR
20                                                                          SUPERVISION;
                                                                       5)   NEGLIGENCE;        AND
21
                                                                       6)   INTENTIONAL        INFLICTION            OF

22
                                                                            EMOTIONAL      DISTRESS; &


23                                                                     DEMAND FOR JURY TRIAL

24


25
              Plaintiff JANE DOE (" Plaintiff')       hereby brings her complaint demanding a trial by jury and
26
     seeking damages against Defendants CRST EXPEDITED, INC.; ARTHUR MARTYN; and DOES 1
27
     through 20, inclusive and each of them, as a result of the allegations and claims set forth in this

28
     complaint,   as follows:




                                                                1


                                         PLAINTIFF'    S COMPLAINT    FOR DAMAGES
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                                                                                     ID

 1                                                    THE PARTIES

2
                 1.     Plaintiff JANE DOE is a 58- year- old woman who at all relevant times herein was
 3
         employed as a truck driver by Defendant CRST EXPEDITED, INC. As described herein, Plaintiff
 4
         was the victim of a violent sexual assault and harassment perpetrator by her co- truck driver during her
 5
         employment at CRST EXPEDITED, INC. As such, Plaintiff is entitled to protect her identity from
 6
         public disclosure and as such, she has filed this lawsuit as " Jane Doe."
 7              2.      Plaintiff is informed and believes and thereupon alleges that defendant CRST

 8       EXPEDITED, INC. (" CRST")        and/ or DOES 1- 10, and each of them, was and at all times mentioned

 9
         herein is a business entity of unknown form organized and existing under the laws of the State of
to
         California and doing business in the State of California, County of Riverside.
11              3.      Plaintiff is informed and believes and thereupon alleges that defendant ARTHUR

12
         MARTYN and/ or DOES 11- 20, and each of them, was and now is an individual now residing in Palm
13
         Beach County, State of Florida. Defendant ARTHUR MARTYN and/ or DOES 11- 20, and each of
14
         them, was employed by defendant CRST and/ or DOES 1- 10 as an employee and agent at all relevant
15
         times. More specifically, Plaintiff is informed and believes that ARTHUR MARTYN was a long haul
16       truck driver employee of CRST.

17              4.      Plaintiff is informed and believes and based thereon alleges that defendant CRST

18
         and/ or DOES 1- 10, and each of them, knew or should have known of the dangerous propensity and
19
         criminal history of defendant ARTHUR MARTYN and/ or DOES 11- 20 to sexually harass and abuse
20
         women, including his coworkers and people assigned to work as his CRST co- driver, like Plaintiff,
21
         prior to his employment and during his employment with CRST. Despite knowing this, CRST failed
22
         to take immediate and appropriate corrective action against MARTYN, which allowed the sexual

23       harassment and assault of Plaintiff, as described herein, to occur. Furthermore, defendant CRST

24       and/ or DOES 1- 10 created a hostile work environment and failed to have and/ or enforce a reasonable

25
         policy for preventing sexual harassment and sexual assault in the work place.
26               5.       Jurisdiction is proper in Riverside County because the harassment and assault( the
27   "    subject incident")   occurred in the County of Riverside, State of California, where CRST maintains a
28
         trucking terminal located at 5350 Wilson Street, Jurupa Valley, California 92509.


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                                         PLAINTIFF'   S COMPLAINT    FOR DAMAGES
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               6.     Plaintiff is informed and believes and thereupon alleges that DOES 1 through 20,

 2
      inclusive, and each of them are either corporations, limited companies, limited partnerships,
 3
      partnerships, sole proprietorships, trusts or individuals and/ or are in some way liable for the incident
 4
      described herein and Plaintiff' s resulting damages.
 5                    The true names and capacities,    whether individual,   corporate,   associate or otherwise of
               7.

 6    DOES 1 through 20 are unknown to Plaintiff who therefore sues these defendants            under said fictitious

 7    names.   Plaintiff is informed and believes that each of the defendants named as a Doe defendant is

 8
      legally responsible in some manner for the events referred to in this Complaint, either intentionally,
 9
      negligently, willfully, wantonly, recklessly, tortiously, strictly liable, statutorily liable, or otherwise,
to    for the injuries and damages described below to this Plaintiff.     Plaintiff will in the future seek leave of

t t
      this court to show the true names and capacities of these Doe defendants when they have been
12    ascertained.

13             8.     Plaintiff is informed and believes and based thereon alleges that each defendant acted

14
      in all respects pertinent to this action as the agent and/ or employee of the other defendants; that they
15
      were acting within the course and scope of their agency and/ or employment at all relevant times; that
16
      they carried out a joint scheme, business plan or policy in all respects pertinent hereto; and the acts of
17
      each defendant are legally attributable to the other defendants.
18             9.     Hereinafter in this Complaint, unless otherwise noted, reference to a Defendant shall

19    mean all Defendants, and each of them.

20                                            FACTUAL ALLEGATIONS

21             10.    At all times mentioned herein, defendant CRST and/ or DOES 1- 10 was a long- haul
22
      trucking company operating out of the County of Riverside in the State of California. Plaintiff is
23    informed and believes that defendant CRST is one of the nation' s largest team carriers and employs

24
      approximately 7, 000 drivers in 48 states.
25             11.    Pursuant to the company' s policy, CRST student truck drivers are required to complete
26
      28 days of training with a" Lead" driver/ instructor at the company and trainees are also required to
27
      enter into an eight-month contract to drive for the company upon completion of the training. The cost
28
      of the training, several thousand dollars, is forgiven by CRST only if the trainee fulfills his/her eight-


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                                      PLAINTIFF' S COMPLAINT FOR DAMAGES
       Case 2:21-cv-05362 Document 4 Filed 07/01/21 Page 8 of 27 Page ID #:49




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     month contract. Trainees earn significantly less than those who have completed the training. If a
 2
     trainee does not complete the eight- month contract they are contractually obligated to pay CRST back
 3
     for the training.
 4
             12.         After the Student Driver" passes" the 28 day student-trainee period of the truck driver
 5
     training, the driver can now become a" co- driver" and haul loads for CRST with another CRST driver.
 6           13.         CRST is one of the few trucking companies that employs a co- driving model wherein
 7   one driver drives while the other takes their mandated rest breaks and/ or sleeps. This model allows for

 8
     the truck to continually be moving, eliminating the need for rest stops and breaks. The co- drivers
 9
     remain on the truck together, alone for the majority of the day, only stopping for restroom breaks and
to   to execute deliveries. Co- drivers are required to share a sleeper berth in the cab of the truck.

tt           14.         At all relevant times herein, defendant ARTHUR MARTYN and/ or DOES 11- 20 was

12
     employed by CRST as a truck driver. Prior to October 8, 2019, Defendant MARTYN made sexually
13
     harassing comments and actions towards his co- workers. Given this history of misconduct, CRST
14   and/ or DOES 1- 10 knew or should have known that ARTHUR MARTYN and/ or DOES 11- 20 had a

15
     dangerous and disturbing history of sexually harassing and abusive behavior towards his co- workers
16   and those assigned to be his co- drivers.

17           15.         Plaintiff is informed and believes that prior to obtaining employment with CRST,
18   defendant ARTHUR MARTYN               and/ or DOES 11- 20 had a criminal record that included violent

19
     felony charges and convictions.
20           16.         At all relevant times herein, Defendant   CRST and/ or DOES 1- 10 created a hostile,

21
     abusive and discriminatory work environment because, in part, it was well aware of many claims of
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     sexual assaults and harassment between its male and female " co- drivers" but defendant CRST and/ or

23
     DOES 1- 10 did nothing to stop the practice. When female employees would complain to supervisors
24   and/ or management, defendant CRST and/ or DOES 1- 10 would discount their claims, state that it was

25   the female employee' s word against the male driver, fail to investigate, and/ or blame the victim.

26           17.         Defendant CRST and/ or DOES 1- 10 also allowed the use of sexually explicit
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     language, sexual innuendos, and inappropriate sexual misconduct between and among its employees.
28
     The defendant' s male drivers routinely propositioned female drivers for sex, commented on their


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                                        PLAINTIFF'   S COMPLAINT FOR DAMAGES
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     bodies, discussed the appearance   of women, and talked about their sexual exploits in the dispatch

 2   terminals and on their trucks with female employees.       These offenses were open and obvious to

 3
     management, and they occurred on a regular and ongoing basis. In fact, Plaintiff is informed and
 4
     believes that male drivers would routinely ask to be assigned to a female driver so that they could
 5   have sex with the female driver while on the road. Management did not discourage this misconduct,

 6
     but it encouraged it by its complacency. This created an environment where sexual harassment was
 7
     not only tolerated but where it flourished and worsened.
 8           18.     Furthermore,   Defendant CRST and/ or DOES 1- 10 had male and female drivers

 9
     working and sleeping together in the same small, private cabs of trucks; it provided little or no
10
     training and instruction on what is and is not appropriate work interaction, including but not limited to
11   the topic of sexual abuse and harassment; and it failed to monitor the actions and interactions of its

12   employees.


13           19.     Plaintiff is informed and believes that this has long been an issue with defendant CRST
14   and/ or DOES 1- 10. In fact, there have been several lawsuits filed against Defendant CRST around the

15
     country by its female employees for the pattern of sexual abuse, harassment and discrimination that
16
     they have had to endure at the hands of their male CRST supervisors and co- workers.
17           20.   In July 2019, Plaintiff JANE DOE was hired by defendant CRST and/ or DOES 1- 10 as
18   a student truck driver. She entered into CRST' s student driver contract and at all times mentioned

19
     herein was working for CRST to pay off the thousands of dollars that she owed to CRST under her
20
     student driver contract.

21           21.     From late July to October 2019, Plaintiff JANE DOE was assigned to and/ or paired
22
     with several male CRST lead and co- drivers who were abusive, verbally harassing, sexually harassing,
23
     and/ or violent towards Plaintiff. Plaintiff reported the incidents with her prior lead and co- drivers to
24
     CRST human resources and other personnel at CRST.
25           22.     From late July 2019 through October 2019, CRST, through its personnel, explicitly and
26
     implicitly discouraged Plaintiff from reporting the harassment she had experienced on the road,
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     perpetrated by Plaintiff' s male lead and co- drivers. On one occasion prior to October 2019, Plaintiff
28
     was told by a CRST human resources employee that further complaints by Plaintiff regarding


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                                     PLAINTIFF' S COMPLAINT        FOR DAMAGES
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                                        i

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     harassing male lead and co- drivers would cause Plaintiff to be blacklisted at CRST and she would not
 2
     receive new trucking assignments and not be able to pay off the thousands of dollars she owed to
 3   CRST under her CRST student driver contract.

 4
               23.       In early October 2019, Defendant ARTHUR MARTYN and/ or DOES 11- 20 was
 5
     assigned as Plaintiff' s CRST" co- driver" at the CRST Riverside Terminal in Jurupa Valley,
 6   California.

 7
               24.       Prior to meeting defendant MARTYN, Plaintiff spoke to him via a social media
 8
     platform that CRST encouraged its drivers to use to " find CRST co- drivers to pair up with".
 9   MARTYN           told Plaintiff he was a former law enforcement                officer and a marine. He endeared himself

10        Plaintiff                himself            be
     to               by holding             out to        a"   nice   guy",   father figure and protector. Plaintiff felt that she
11
     would be safe with MARTYN due to his background and his status as an employee in good standing
12   with CRST.

13             25.       On October 8, 2019, Plaintiff and Defendant MARTYN received their first CRST

14
     assignment in Riverside, California. They were assigned to haul a load from Riverside to Cedar
15   Rapids, Ohio.

16             26.       Shortly after receiving the assignment, MARTYN began sexually harassing and
17
     intimidating the Plaintiff. The harassment and intimidation began at the Riverside terminal where
18
     MARTYN would make sexually suggestive remarks toward Plaintiff. Plaintiff felt uncomfortable
19
     around MARTYN, however she did not want to complain to CRST for fear of losing her trucking
20   assignment.


21             27.       On or about October 8, 2019, MARTYN assaulted Plaintiff for the first time on the

22
     CRST truck at the Riverside terminal. MARTYN pushed Plaintiff on to the bed in the sleeper birth of
23
     the CRST truck, held her arms down, restrained her and made sexually inappropriate comments to her
24
     and touched her body. MARTYN threatened Plaintiff that if she told anyone about the abuse and
25   harassment that he would have her fired from CRST.

26             28.       MARTYN' s harassment and intimidation of Plaintiff continued throughout the truck

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     driving assignment. He told Plaintiff that" no one will be able to hear you scream" on the truck.
28
     MARTYN watched Plaintiff very closely both on and off of the truck. He took away her cell phone


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                                             PLAINTIFF'         S COMPLAINT        FOR DAMAGES
       Case 2:21-cv-05362 Document 4 Filed 07/01/21 Page 11 of 27 Page ID #:52




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     and restricted her use of the truck' s Qualcomm communication system.
 2           29.     On or about October 9, 2019, MARTYN sexually assaulted Plaintiff for a second time
 3
     in the sleeper birth of the CRST truck while stopped near Arizona due to high winds. MARTYN

 4
     forcibly raped and beat the Plaintiff. Plaintiff was rendered unconscious during the assault.
 5
     Immediately after the assault, Plaintiff was physically sick, nauseous, dizzy and had severe, traumatic
 6   injuries to her vagina.

 7
             30.     On or about October 11, 2019, fearing for her life and safety, Plaintiff escaped from
 8
     MARTYN by driving the truck away from him while he was inside of a truck stop in Kansas.
 9           31.     Plaintiff immediately reported the assault incidents to CRST. CRST discouraged
10
     Plaintiff from reporting the incident to police and told her that she needed to continue to drive the
11
     truck to a trucking terminal in Cunningham, Kansas, so that the" load could be rescued" and not
12
     delayed.

13           32.     Plaintiff did as instructed by CRST, and drove the truck to a point where the" load
14   could be rescued".

15           33.     On October 13, 2019, Plaintiff reported the rape to police in Hutchinson, Kansas,
16   underwent a forensic sexual assault examination       and entered a women' s shelter to treat for her injuries

17   related to the assault.

18                              EXHAUSTION OF ADMINISTRATIVE                   REMEDIES

19           34.     Plaintiff filed a complaint against the defendants with the Department of Fair

20                 and                 DFEH")   on October 8, 2020. The DFEH issued Plaintiff a" Right- to- Sue"
     Employment           Housing ("
21
     letter on the same day. This Complaint is timely filed pursuant to that letter.
22                                              FIRST CAUSE OF ACTION

23                             SEXUAL ASSAULT, BATTERY AND RATIFICATION

24                                                Against All Defendants)

25
             35.     Plaintiff realleges and incorporates by reference paragraphs 1 through 34, inclusive, of
26
     this complaint as if fully set forth at this place.
27           36.     In doing the acts herein alleged, defendant ARTHUR MARTYN and/ or DOES 11- 20
28   acted with the intent to cause harmful or offensive contact with Plaintiff; which did occur. Plaintiff did




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                                        PLAINTIFF' S COMPLAINT      FOR DAMAGES
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     not consent to that harmful and offensive contact at any time. As a direct and legal result of the said
 2
     acts, Plaintiff suffered bodily harm and/ or offensive contact.
 3
               37.       Thereafter, Defendant CRST and/ or DOES 1- 10 ratified the harmful and offensive

 4   conduct of defendant MARTYN.

 5             38.      Defendant CRST and/ or DOES 1- 10 discouraged Plaintiff from reporting defendant
 6   ARTHUR MARTYN                and/ or DOES 11- 20' s misconduct.       After Plaintiff reported the misconduct,   against

 7
     the express or implied direction of defendant CRST, CRST and DOES 1- 10 failed to meaningfully
 8   investigate or respond to Plaintiff' s report of sexual harassment and abuse and/ or took no action to

 9   reprimand,      discipline   or otherwise rebuke the actions of defendant ARTHUR MARTYN                  and/ or DOES

l0   11- 20.

11
               39.      By the aforesaid actions and inactions of the Defendants, and each of them, Plaintiff has
12                     and                                  actual damages pursuant        California Civil Code § 3333 in an
     been   directly         legally   caused to   suffer                             to


13
     amount which exceeds the jurisdictional limits of this Court; according to proof at the time of the trial.
14             40.      As a direct and proximate result of the tortious actions of thc Defendants, and each of
15
     them, Plaintiff has been injured. All of said injuries have caused, and continue to cause her great mental,
16
     physical pain and suffering. Plaintiff is informed and believes and thereon alleges that said injuries will
17
     result in some permanent injury to Plaintiff, all to her general damages in a sum which exceeds the
18
     jurisdiction of this Court; according to proof at the time of trial.
19             41.       Defendants' conduct was intentional, fraudulent, malicious, oppressive, and was done in

20
     wanton disregard for the rights of Plaintiff. The defendants aided, abetted, participated in, authorized,
21   ratified, and/ or conspired to engage in the wrongful conduct alleged above. As such, Plaintiff should be

22
     awarded exemplary and punitive damages against each Defendant in an amount to be established that is
23
     appropriate to punish each Defendant and deter others from engaging in such conduct.
24                                                 SECOND       CAUSE OF ACTION

25                                        HARASSMENT            IN' VIOLATION      OF FEHA

26                                                      Against All Defendants)

27             42.      Plaintiff realleges and incorporates by reference paragraphs 1 through 41, inclusive, of
28
     this complaint as if fully set forth at this place.



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                                           PLAINTIFF'       S COMPLAINT    FOR DAMAGES
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                                                                                          i

 1                43.       At all times herein mentioned,     California Government Code §       12940 et seq., was in full
 2
         force and effect and was binding on the defendants, as defendant CRST and/ or DOES 1- 10 regularly
 3
         employed five( 5) or more persons. The conduct of the defendants, as herein described above,
 4                       harassment in               of California Government   Code §
         constitutes                     violation                                       12940( j).
 5                44.       The harassment complained of by Plaintiff was based on Plaintiff sex/ gender, and the
 6
         harassment complained of was sufficiently severe and/ or pervasive so as to alter the conditions of
 7
         employment and create an abusive working environment.
 8                45.       CRST and/ or DOES 1- 10 knew or should have known of the harassment, yet failed to
 9
         take reasonable measures to prevent it and/ or remedy it.
to                46.       As a proximate result of the wrongful acts of the defendants, Plaintiff suffered and
11       continues to suffer emotional       distress, humiliation,   mental anguish and embarrassment,     as well as the

12
         manifestation of physical symptoms. Plaintiff is informed and believes and thereupon alleges that she
13
         will continue to experience said physical and emotional suffering for a period in the future not presently
14
         ascertainable; all in an amount subject to proof at the time of trial.
15                47.       As a proximate result of the wrongful acts of the defendants, Plaintiff has been forced to
16
         hire attorneys to prosecute her claims herein and has incurred and is expected to continue to incur
17
         attomy' s fees and costs in connection therewith. Plaintiff is entitled to recover attorney' s fees and
18       costs   under   California Government Code § 12965( b).

19                48.       Defendants' conduct was fraudulent, malicious, oppressive and was done in wanton

20
         disregard for the rights of Plaintiff and the rights and duties owed by each Defendant to Plaintiff. Each
21
         Defendant aided, abetted, participated in, authorized, ratified and/ or conspired to engage in the wrongful
22
         conduct alleged above. Plaintiff should, therefore, be awarded exemplary and punitive damages against
23
         each Defendant in an amount to be established that is appropriate to punish each Defendant and deter
24
         others from engaging in such conduct.
25


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                                             PLAINTIFF'     S COMPLAINT     FOR DAMAGES
           Case 2:21-cv-05362 Document 4 Filed 07/01/21 Page 14 of 27 Page ID #:55




 1                                                THIRD CAUSE OF ACTION

 2         FAILURE        TO INVESTIGAGE          AND PREVENT            HARASSMENT           IN VIOLATION       OF FEHA

 3                                         Against Defendant CRST and DOES 1- 10)

 4                49.      Plaintiff realleges and incorporates herein paragraphs 1 through 48 of this complaint as
 5
         though fully set forth.
 6                50.      At all times mentioned herein, California Government Code Sections 12940, et seq.,
 7
         including but not limited to Sections 12940( j) and( k), were in full force and effect and were binding
 8
         upon defendant CRST and/ or DOES 1- 10. These sections impose on an employer a duty to take
 9
         immediate and appropriate corrective action to end harassment and take all reasonable steps necessary to
to
         prevent harassment from occurring.
11                51.      As described herein, defendant CRST and/ or DOES 1- 10 knew or should have known of

12
         the harassing and abusive conducted of defendant ARTHUR MARTYN and/ or DOES 11- 20 but failed
13       to take immediate     and appropriate   corrective   action to end the harassment.    Said defendants   also failed

14
         to take all reasonable steps necessary to prevent the harassment from occurring.
15                52.
                           In failing and/ or refusing to take immediate and appropriate corrective action to end the
16
         harassment and in failing and/ or refusing to take any or all reasonable steps necessary to prevent
17
         harassment from occurring, defendant CRST and/ or DOES 1- 10 violated California Government Code §
18       12940 ( j) and( k),   causing Plaintiff to suffer damages as set forth above.
19                53.      As a proximate result of the wrongful acts of said defendants, Plaintiff has suffered and
20       continues to suffer emotional distress, humiliation, mental anguish and embarrassment, as well as the

21
         manifestation of physical symptoms. Plaintiff is informed and believes and thereupon alleges that she
22
         will continue to experience said physical and emotional suffering for a period in the future not presently
23
         ascertainable, all in an amount subject to proof at the time of trial.
24                54.      As a proximate result of the wrongful acts of said defendants, Plaintiff has been forced to
25
         hire attorneys to prosecute her claims herein and has incurred and is expected to continue to incur
26
         attorney' s fees and costs in connection therewith. Plaintiff is entitled to recover attorney' s fees and
27       costs   under   California Government Code § 12965( b).

28 ///




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                                           PLAINTIFF'    S COMPLAINT       FOR DAMAGES
          Case 2:21-cv-05362 Document 4 Filed 07/01/21 Page 15 of 27 Page ID #:56




 1
                                              FOURTH CAUSE OF ACTION

 2
                            NEGLIGENT HIRING, RETENTION, AND/ OR SUPERVISION

 3                                       Against Defendant CRST and DOES 1- 10)

 4
                 55.      Plaintiff realleges and incorporates herein paragraphs 1 through 54 of this complaint as
 5
         though fully set forth.
 6               56.      Defendant CRST and/ or DOES 1- 10 had the responsibility and duty to adequately and
 7
         properly investigate, hire, train and supervise its employees so as to protect those who worked for
 8
         CRST and/ or DOES 1- 10 from harm caused by unfit and dangerous individuals.
 9               57.      Plaintiff is informed and believes that defendant CRST and/ or DOES 1- 10 knew, had

10       reason to know, or was otherwise on notice of the misconduct of defendant ARTHUR MARTYN

11
         and/ or DOES 11- 20 because it was pervasive and obvious and/ or as a result of other complaints. Yet
12
         CRST hired and/ or retained defendant ARTHUR MARTYN and/ or DOES 11- 20 anyways and put no
13
         restrictions on him despite his prior misconduct.
14
                 58.      Plaintiff is also informed and believes that defendant CRST and/ or DOES 1- 10 failed to

15       take reasonable steps to implement reasonable safeguards to ensure that such misconduct did not occur

16       in the future.

17               59.      As such, said defendant failed to exercise reasonable care in hiring, supervising and
18       retention of defendant ARTHUR MARTYN and/ or DOES 11- 20 which amounted to a breach of its

19
         duty of care.
20               60.      As a direct and proximate result of defendant CRST and/ or DOES 1- 10 actions and/ or
21
         inactions, Plaintiff has suffered and continues to suffer great pain of mind and body, shock, emotional
22
         distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,
23
         humiliations, and loss of enjoyment of life; has suffered and continues to suffer and was prevented and
24
         will continue to be prevented from performing daily activities and obtaining the full enjoyment of life;
25
         will sustain loss of earnings and earning capacity, and/ or has incurred and will continue to incur
26
         expenses for medical and psychological treatment, therapy, and counseling.
27


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                                         PLAINTIFF'   S COMPLAINT     FOR DAMAGES
      Case 2:21-cv-05362 Document 4 Filed 07/01/21 Page 16 of 27 Page ID #:57
                                  I             .

 1                                          FIFTH CAUSE OF ACTION

 2                                                 NEGLIGENCE

 3
                                    Against Defendant     CRST and DOES 1- 10)

 4          61.     Plaintiff realleges and incorporates herein paragraphs 1 through 60 of this complaint as
 5
     though fully set forth.
 6          62.     Defendant CRST and/ or DOES 1- 10 had a duty to provide a safe work environment that
 7
     was free from harassment and abuse and to assure that its employees were properly trained on what
 8   constituted harassment and abuse in the workplace.

 9          63.     Plaintiff is informed   and believes and herein alleges that defendant CRST and/ or DOES

10
     1- 10 breached that duty to Plaintiff by, in part, creating a work environment that was sexually charged
11
     and abusive; by failing to properly instruct its employees on appropriate and acceptable conduct in the
12
     workplace; by allowing female employees ( like Plaintiff) to be sexual harassed in the work place; and by
13
     failing to properly respond to complaints of harassment and abuse; as here.
14          64.     As a direct and proximate result of defendant CRST and/ or DOES 1- 10 actions and/ or
15
     inactions, Plaintiff has suffered and continues to suffer great pain of mind and body, shock, emotional
16
     distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,
17
     humiliations, and loss of enjoyment of life; has suffered and continues to suffer and was prevented and
18
     will continue to be prevented from performing daily activities and obtaining the full enjoyment of life;
19
     will sustain loss of earnings and earning capacity, and/ or has incurred and will continue to incur
20
     expenses for medical and psychological treatment, therapy, and counseling.
21                                          SIXTH CAUSE OF ACTION

22                       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

23                        Against Defendant ARTHUR MARTYN and/ or DOES 11- 20)

24          65.     Plaintiff realleges and incorporates herein paragraphs 1 through 64 of this complaint as
25
     though fully set forth.
26          66.     The conduct of defendant ARTHUR MARTYN and/ or DOES 11- 20, including the sexual
27   harassment and assault of Plaintiff described herein was outrageous, extreme, intentional and malicious

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                                                           12


                                    PLAINTIFF' S COMPLAINT FOR DAMAGES
      Case 2:21-cv-05362 Document 4 Filed 07/01/21 Page 17 of 27 Page ID #:58
                                                                                      111

 1
     and done for the purpose of causing, or with the substantial certainty that it would cause, Plaintiff to
 2
     suffer humiliation, mental anguish, and emotional and physical distress.
 3            67.     A reasonable person would not be expected to tolerate the sexual harassment and battery
 4
     of Plaintiff by defendant ARTHUR MARTYN and/ or DOES 11- 20.
 5            68.     As a direct and proximate result of the conduct of defendant ARTHUR MARTYN and/ or
 6
     DOES 11- 20, as above- described herein, Plaintiff has suffered and continues to suffer great pain of mind
 7
     and body, shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss
 8   of self-esteem, disgrace, humiliations, and loss of enjoyment of life; has suffered and continues to suffer

 9
     and was prevented and will continue to be prevented from performing daily activities and obtaining the
10
     full enjoyment of life; will sustain loss of earnings and earning capacity, and/ or has incurred and will
11
     continue to incur expenses for medical and psychological treatment, therapy, and counseling.
12            69.     In committing the acts described herein, said defendant acted with malice, oppression and
13
     fraud. Plaintiff should, therefore, be awarded exemplary and punitive damages against said
14
     defendant in an amount to be established that is appropriate to punish each Defendant and deter others
15
     from engaging in such conduct.
16                                              PRAYER FOR RELIEF

17
              WHEREFORE, PLAINTIFF prays for judgment against DEFENDANTS as follows:
18                    1.   For general damages according to proof;
19                    2.   For special damages according to proof;
20                    3.   For punitive damages according to proof;
21                    4.   For attorney fees and costs of suit;
22
                      5.   For prejudgment and postjudgment interest according to law; and
23                    6.   For such other and further relief as the court may deem just and proper.
24


25   Dated:         13, 2021                                  TAYLOR&        RING
              May
26

                                                                                                   j\
27                                                            By:
                                                                    John- C. Taylor
28                                                                  Natalie Weatherford
                                                                    Attorneys for Plaintiff, JANE DOE



                                                             13


                                       PLAINTIFF'   S COMPLAINT       FOR DAMAGES
      Case 2:21-cv-05362 Document 4 Filed 07/01/21 Page 18 of 27 Page ID #:59




 1                                      DEMAND FOR JURY TRIAL

 2
              Plaintiff JANE DOE hereby demands that her action be determined by trial by jury.
 3


 4
     Dated:   May   13, 2021                             TAYLOR&        RING

 5


 6                                                       By:
                                                               John C. Taylor
 7
                                                               Natalie Weatherford
                                                               Attorneys for Plaintiff, JANE DOE
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                                    PLAINTIFF'   S COMPLAINT    FOR DAMAGES
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      EXHIBIT B
 Case 2:21-cv-05362 Document 4 Filed 07/01/21 Page 20 of 27 Page ID #:61



 1   Kristen J. Nesbit (SBN 242426)
     E-Mail: knesbit@fisherphillips.com
 2   Nathan V. Okelberry (SBN 266596)
     E-Mail: nokelberry@fisherphillips.com
 3   LaLonnie V. Gray (SBN 366999)
     E-Mail: lgray@fisherphillips.com
 4   FISHER & PHILLIPS LLP
     444 South Flower Street, Suite 1500
 5   Los Angeles, California 90071
     Telephone: (213) 330-4500
 6   Facsimile: (213) 330-4501

 7   Attorneys for Defendant
     CRST EXPEDITED, INC.
 8

 9                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                              FOR THE COUNTY OF RIVERSIDE

11

12   JANE DOE, an individual,                CASE NO.: CVRI 2102214
                                             [Unlimited Jurisdiction]
13                       Plaintiff,
                                             DEFENDANT CRST EXPEDITED, INC.’S
14           v.                              ANSWER AND AFFIRMATIVE DEFENSES
                                             TO PLAINTIFF JANE DOE’S COMPLAINT
15   CRST EXPEDITED, INC., an entity of
     unknown form; ARTHUR MARTYN, an         Assigned for all purposes to the
16   individual; and DOES 1 through 20,      Honorable Chad Firetag, Dept. 3
17                       Defendants.
                                             Complaint Filed: May 14, 2021
18                                           Trial Date:      None
19

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       DEFENDANT CRST EXPEDITED, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF
                                   JANE DOE’S COMPLAINT
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 1            COMES NOW Defendant CRST EXPEDITED, INC. (“Defendant”), on behalf of itself

 2   and for no other Defendant, hereby answers the Unverified Complaint for Damages

 3   (“Complaint”) filed by Plaintiff JANE DOE (“Plaintiff”) as follows:

 4                                               ANSWER

 5            Pursuant to California Code of Civil Procedure section 431.30, subdivision (d),

 6   Defendant generally denies each and every allegation and cause of action in Plaintiff’s unverified

 7   Complaint. Furthermore, Defendant specifically denies that Plaintiff has suffered any injury,

 8   damage, or loss of any kind or in any sum whatsoever, by reason of any alleged act(s), breach(es),

 9   or omission(s) of Defendant, its employees, agents, or anyone else acting on its behalf.

10                                    AFFIRMATIVE DEFENSES

11                                 FIRST AFFIRMATIVE DEFENSE

12            1.     Plaintiff’s complaint, and each and every cause of action therein, fails to state

13   facts sufficient to constitute any cause of action against Defendant.

14                               SECOND AFFIRMATIVE DEFENSE

15            2.     Plaintiff’s complaint, and each and every cause of action therein, is barred by the

16   applicable statute of limitations, including but not limited to California Code of Civil Procedure

17   section 335.1, 338 subdivision (a), and 340, subdivision (a), and California Government Code

18   sections 12960 and 12965.

19                                THIRD AFFIRMATIVE DEFENSE

20            3.     Plaintiff is estopped by her conduct from recovering any relief sought in the

21   complaint or in any purported cause of action alleged therein.

22                               FOURTH AFFIRMATIVE DEFENSE

23            4.     Plaintiff’s claims are barred by the doctrine of unclean hands.

24                                 FIFTH AFFIRMATIVE DEFENSE

25            5.     By her conduct, Plaintiff has waived any right to recover any relief sought in the

26   complaint or in any purported cause of action alleged therein.

27   //

28   //
                                                      1
          DEFENDANT CRST EXPEDITED, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF
                                      JANE DOE’S COMPLAINT
     FP 40887350.2
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 1                                 SIXTH AFFIRMATIVE DEFENSE

 2            6.     The acts of the other named Defendants of which Plaintiff complains were all

 3   undertaken outside the scope of their agency and/or employment with this answering Defendant

 4   and without the knowledge or consent of this answering Defendant and this answering Defendant

 5   may not be held liable therefor.

 6                              SEVENTH AFFIRMATIVE DEFENSE

 7            7.     To the extent Plaintiff suffered any symptoms of mental or emotional distress or

 8   injury, they were the result of a pre-existing psychological disorder or alternative concurrent

 9   cause, and not the result of any act or omission of Defendant.

10                               EIGHTH AFFIRMATIVE DEFENSE

11            8.     Plaintiff welcomed and consented to the alleged physical contact alleged in the

12   Complaint.

13                                NINTH AFFIRMATIVE DEFENSE

14            9.     Any recovery on Plaintiff’s complaint, or any purported cause of action alleged

15   therein, is barred in whole or in part by Plaintiff’s failure to mitigate her damages.

16                                TENTH AFFIRMATIVE DEFENSE

17            10.    Plaintiff is not entitled to recover punitive or exemplary damages from Defendant

18   on the grounds that any award of punitive or exemplary damages would violate Defendant’s

19   constitutional rights under the Due Process Clauses of the Fifth and Fourteenth Amendments of

20   the United States Constitution.

21                             ELEVENTH AFFIRMATIVE DEFENSE

22            11.    Any recovery on Plaintiff’s Complaint, or any causes of action contained therein,

23   is barred in that this Court lacks jurisdiction over such claims because Plaintiff failed to perfect

24   a right of action and/or exhaust administrative remedies prior to commencing this civil action as

25   required by the applicable law including, without limitation, the California Fair Employment and

26   Housing Act (“the FEHA”) and/or failed to exhaust internal grievance procedures.

27   //

28   //
                                                      2
          DEFENDANT CRST EXPEDITED, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF
                                      JANE DOE’S COMPLAINT
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 1                               TWELFTH AFFIRMATIVE DEFENSE

 2           12.      Plaintiff’s Complaint, and each and every cause of action therein, is barred by the

 3   exclusive remedy provisions of the Workers’ Compensation Act pursuant to California Labor

 4   Code section 3601 et seq.

 5                             THIRTEENTH AFFIRMATIVE DEFENSE

 6           13.      If Plaintiff has received, or in the future receives, Workers’ Compensation

 7   benefits by reason of the claimed injuries which give rise to this suit, any judgment rendered in

 8   favor of Plaintiff should be reduced by the amount of all Workers’ Compensation benefits paid

 9   to or on behalf of Plaintiff.

10                             FOURTEENTH AFFIRMATIVE DEFENSE

11           14.      Plaintiff’s claims are barred by the doctrine of unclean hands.

12                              FIFTEENTH AFFIRMATIVE DEFENSE

13           15.      Plaintiff is guilty of undue delay in filing and prosecuting this suit and,

14   accordingly, this action is barred by laches.

15                              SIXTEENTH AFFIRMATIVE DEFENSE

16           16.      Defendant exercised reasonable care to prevent and promptly correct any

17   allegedly harassing behavior.

18                            SEVENTEENTH AFFIRMATIVE DEFENSE

19           17.      Plaintiff unreasonably failed to take advantage of any preventive or corrective

20   opportunities provided by Defendant or to avoid harm otherwise.

21                             EIGHTEENTH AFFIRMATIVE DEFENSE

22           18.      Plaintiff’s reasonable use of Defendant’s procedures to prevent and/or correct the

23   allegedly harassing behavior would have prevented all or some of the alleged harm he claims to

24   have suffered.

25                             NINETEENTH AFFIRMATIVE DEFENSE

26           19.      Plaintiff did not exercise ordinary care on her own behalf, and her own acts and

27   omissions proximately caused and/or contributed to the loss, injury, damage, or detriment alleged

28
                                                       3
       DEFENDANT CRST EXPEDITED, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF
                                   JANE DOE’S COMPLAINT
     FP 40887350.2
 Case 2:21-cv-05362 Document 4 Filed 07/01/21 Page 24 of 27 Page ID #:65



 1   by Plaintiff, and Plaintiff’s recovery from Defendant, if any, should be reduced in proportion to

 2   the percentage of Plaintiff’s negligence or fault.

 3                             TWENTIETH AFFIRMATIVE DEFENSE

 4           20.     Plaintiff is not entitled to recover punitive or exemplary damages from Defendant

 5   on the grounds that any award of punitive or exemplary damages would violate Defendant’s

 6   constitutional rights under the Due Process Clauses of the Fifth and Fourteenth Amendments of

 7   the United States Constitution.

 8                                     RESERVATION OF RIGHTS

 9           Defendant currently has insufficient information available upon which to form a belief as
10   to whether it has additional, as yet unstated, affirmative defenses available. Defendant reserves
11   the right to assert additional affirmative defenses in the event discovery indicates it would be
12   appropriate.
13           WHEREFORE, this answering Defendant prays as follows:

14           1.      That Plaintiff take nothing by her complaint for damages;

15           2.      That Plaintiff’s complaint herein be dismissed in its entirety with prejudice;

16           3.      That Defendant recover its costs of suit herein, including its reasonable attorneys’

17   fees; and

18           4.      That the court award such other and further relief as it deems appropriate.

19

20   DATE: June 30, 2021                          FISHER & PHILLIPS LLP
21

22
                                            By:
23                                                Kristen J. Nesbit
                                                  Nathan V. Okelberry
24                                                LaLonnie V. Gray
                                                  Attorneys for Defendant
25                                                CRST EXPEDITED, INC.
26

27

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                                                      4
       DEFENDANT CRST EXPEDITED, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF
                                   JANE DOE’S COMPLAINT
     FP 40887350.2
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 1                                       PROOF OF SERVICE
                                       (CCP §§1013(a) and 2015.5)
 2
            I, the undersigned, am at least 18 years old and not a party to this action. I am employed
 3   in the County of Los Angeles with the law offices of Fisher & Phillips LLP and its business
     address is 444 South Flower Street, Suite 1500, Los Angeles, California 90071.
 4
            On June 30, 2021, I served the following document(s) DEFENDANT CRST
 5   EXPEDITED, INC.’S ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF
     JANE DOE’S COMPLAINT on the person(s) listed below by placing     the original a true
 6   copy thereof enclosed in sealed envelope(s) addressed as follows:

 7    John C. Taylor, Esq.                               Attorneys for Plaintiff Jane Doe
      Natalie Weatherford, Esq.
 8    TAYLOR & RING                                      Tel:   (310) 209-4100
      1230 Rosecrans Avenue, Suite 360                   Fax:   (310) 208-5052
 9    Manhattan Beach, CA 90266
            [by MAIL] - I enclosed the document(s) in a sealed envelope or package addressed to
10           the person(s) whose address(es) are listed above and placed the envelope for collection
             and mailing, following our ordinary business practices. I am readily familiar with this
11           business’s practice for collecting and processing correspondence for mailing. On the
             same day that correspondence is placed for collection and mailing, it is deposited in the
12           ordinary course of business with the United States Postal Service in Los Angeles
             California, in a sealed envelope with postage fully prepaid.
13          [by FAX] - Based on an agreement of the parties to accept service by fax transmission, I
             faxed the document(s) to the person(s) at fax number(s) listed above from fax number
14           (213) 330-4501. The fax reported no errors. A copy of the transmission report is
             attached.
15          [by OVERNIGHT DELIVERY] - I enclosed the document(s) in an envelope or package
             provided by an overnight delivery carrier and addressed to the person(s) at the address(es)
16           listed above. I placed the envelope or package for collection and overnight delivery at an
             office or a regularly utilized drop box of the overnight carrier.
17          [by ELECTRONIC SERVICE] - Based on a court order or an agreement of the parties
             to accept service by electronic transmission, I electronically served the document(s) to
18           the person(s) at the electronic service address(es) listed above.
            [by PERSONAL SERVICE] - I delivered the document(s) to the person(s) at the
19           address(es) listed above by (1) (a) personal delivery, or (b) by leaving the documents in
             an envelope/package with an individual in charge of the office, or (c) by leaving them in
20           a conspicuous place in the office between the hours of 9:00 a.m. and 6:00 p.m., or (2) by
             messenger – a copy of the Messenger Declaration is attached.
21
            I declare under penalty of perjury, under the laws of the State of California, that the
22   foregoing is true and correct.
23
             Executed June 30, 2021, at Los Angeles, California.
24
         Melody Biglay                             By:
25                       Print Name                                          Signature

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                                                     5
                                            PROOF OF SERVICE
     FP 40887350.2
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                eSubmit – Document Submission Portal
                Delivery Confirmation

Submission ID                                         Date Received
10819767                                              6/30/2021 4:26:48 PM

First Name                          Middle Name                         Last Name
Elsa                                                                    Amaya

Street Address                                  City                                State     Zip
3631 10th street                                Riverside                           CA        92501

Phone Number            Fax Number              Company / Agency
(951) 320-7770                                  QC# 35280

Email Address
riv@expressnetworkas.com

New Case                   Case Number                Case Type                  Court Location
No                         CVRI2102214                Civil                      Riverside

Fee Waiver or Other Exemption
None

Filing as an Attorney          Bar Number             Attorney for
No

Documents
 1 ANSWER

Notes / Special Instructions



IMPORTANT: This document serves as a confirmation of delivery only and the submitted documents have not
yet been processed and/or filed by the Superior Court of California, County of Riverside.




                                              Page 1 of 1
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 1                                CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed in the County of Los Angeles, State of
     California. I am over the age of 18 and not a party to the within action; am
 3   employed with the law offices of Fisher & Phillips LLP and my business address
     is 444 South Flower Street, Suite 1500, Los Angeles, California 90071.
 4
           On July 1, 2021, I served the following document(s) DECLARATION OF
 5   KRISTEN NESBIT IN SUPPORT OF DEFENDANT CRST EXPEDITED,
     INC.’S NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§
 6   1332(A), 1441, AND 1446 on the person(s) listed below by placing         the original
        a true copy thereof enclosed in sealed envelope(s) addressed as follows:
 7
      John C. Taylor, Esq.                       Attorneys for Plaintiff Jane Doe
 8    Natalie Weatherford, Esq.
      TAYLOR & RING                              Tel: (310) 209-4100
 9    1230 Rosecrans Avenue, Suite 360           Fax: (310) 208-5052
      Manhattan Beach, CA 90266
10        [by MAIL] - I am readily familiar with the firm's practice of collection and
           processing correspondence for mailing. Under that practice it would be
11         deposited with the U.S. Postal Service on that same day with postage thereon
           fully prepaid at Los Angeles, California in the ordinary course of business.
12         I am aware that on motion of the party served, service is presumed invalid if
           postage cancellation date or postage meter date is more than one day after
13         date of deposit for mailing this affidavit.
          [by ELECTRONIC SUBMISSION] - I served the above listed
14         document(s) described via the United States District Court’s Electronic
           Filing Program on the designated recipients via electronic transmission
15         through the CM/ECF system on the Court’s website. The Court’s CM/ECF
           system will generate a Notice of Electronic Filing (NEF) to the filing party,
16         the assigned judge, and any registered users in the case. The NEF will
           constitute service of the document(s). Registration as a CM/ECF user
17         constitutes consent to electronic service through the court’s transmission
           facilities.
18        [by FEDERAL EXPRESS] - I am readily familiar with the firm’s practice
           for collection and processing of correspondence for overnight delivery by
19         Federal Express. Under that practice such correspondence will be deposited
           at a facility or pick-up box regularly maintained by Federal Express for
20         receipt on the same day in the ordinary course of business with delivery fees
           paid or provided for in accordance with ordinary business practices.
21        [by PERSONAL SERVICE] - I caused to be delivered by messenger such
           envelope(s) by hand to the office of the addressee(s). Such messenger is
22         over the age of eighteen years and not a party to the within action and
           employed with Express Network.
23
           I declare that I am employed in the office of a member of the bar of this
24   Court at whose direction the service was made. Executed July 1, 2021, at Los
     Angeles, California.
25
       Melody Biglay                        By:
26                   Print Name                                   Signature

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                                              3
                                       PROOF OF SERVICE
     FP 40900023.2
